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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            LYNCHBURG DIVISION


                                                          Action No: 6:21CV00055
  Walter Scott Lamb                                       Date: July 28, 2022
  vs.                                                     Judge: Norman K. Moon
                                                          Court Reporter: Lisa Blair
  Liberty University, Inc.
                                                          Deputy Clerk: Carmen Amos



  Plaintiff Attorney(s)                           Defendant Attorney(s)
  Ian A. Northon                                  Heidi E. Siegmund
  Thomas H. Roberts                               Scott C. Oostdyk



                                     LIST OF WITNESSES

  PLAINTIFF/GOVERNMENT:                           DEFENDANT:
  1. Laura Wallace                                1.



  PROCEEDINGS:
  Parties present in-person for continuation of Evidentiary Hearing on Defendant and Counterclaim
  Plaintiff Liberty University, Inc.’s Motion for Sanctions (Dkt. 84).

  Further arguments and testimony heard. Opinion and Order forthcoming.




  Time in Court: 9:30 – 11:12 a.m. (1 hour, 42 minutes)
